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Attorneys for Defendant



                    IN THE UNITED STATES DISTRICT COURT
                                  DISTRICT OF UTAH


TAHER FAKHRUDDIN SAHEB, also known                  NOTICE OF APPEARANCE OF
as TAHERBHAI K QUTBUDDIN, also                              COUNSEL
known as TAHER BHAI QUTUBUDDIN,

       Plaintiff,

v.

MUFADDAL BURHANUDDIN                                     Case No. 2:18-CV-00043-BCW
SAIFUDDIN,

       Defendant.



       Please take notice that Gregory S. Roberts of the firm of Ray Quinney & Nebeker P.C.

hereby enters his appearance as counsel for Defendant.

       DATED this 13th day of November, 2018.
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                           RAY QUINNEY & NEBEKER



                           /s/ Gregory S. Roberts
                           Attorneys for Defendant




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                                    CERTIFICATE OF SERVICE

          I hereby certify that on this 13th day of November, 2018, I electronically filed the

foregoing NOTICE OF APPEARANCE OF COUNSEL with the Clerk of the Court using the

CM/ECF system, which sent notification of such filing to the following:

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